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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                 12/29/2020
---------------------------------------------------------------X
PHOENIX BULK CARRIERS (BVI) LTD.,                              :
                                                               :   20-CV-936 (JGK) (RWL)
                                    Plaintiff,                 :
                                                               :
                  - against -                                  :   ORDER
                                                               :
TRIORIENT LLC,                                                 :
                                                               :
                                    Defendant.                 :
                                                               :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This case has been referred to me for general pretrial purposes. By January 14,

2020, the parties’ shall file a joint letter (1) briefly describing the dispute; (2) setting forth

the procedural status; (3) identifying any pending motions (with reference to ECF docket

entry numbers); (4) stating whether any efforts to settle the matter have been undertaken

and whether the parties would be interested in participating in a settlement conference

with me; and (5) any other matter requiring the Court's attention.

                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: December 29, 2020
       New York, New York

Copies transmitted this date to all counsel of record.




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